                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                    AT CHATTANOOGA

 UNITED STATES OF AMERICA                      )         MATTICE/CARTER
                                               )
        v.                                     )         CASE NO. 1:13-CR-89
                                               )
 CLIFFORD SIMPSON                              )



                                             ORDER

        On July 7, 2015, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant=s plea of guilty to Count One of

 the Second Superseding Indictment to the extent that it charges the manufacture and distribution of

 five kilograms or more of a mixture and substance containing a detectable amount of cocaine,

 excluding the allegations of cocaine base (crack), in exchange for the undertakings made by the

 government in the written plea agreement; (b) the Court adjudicate Defendant guilty of the charges

 set forth in Count One of the Second Superseding Indictment to the extent that it charges the

 manufacture and distribution of five kilograms or more of a mixture and substance containing a

 detectable amount of cocaine, excluding the allegations of cocaine base (crack); (c) that a decision

 on whether to accept the plea agreement be deferred until sentencing; and (d) Defendant shall

 remain in custody pending sentencing in this matter (Doc. 799). Neither party filed an objection

 within the given fourteen days. After reviewing the record, the Court agrees with the magistrate

 judge=s report and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the

 magistrate judge=s report and recommendation pursuant to 28 U.S.C. ' 636(b)(1) and ORDERS as

 follows:

        (1) Defendant=s plea of guilty to Count One of the Second Superseding Indictment to the




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 extent that it charges the manufacture and distribution of five kilograms or more of a mixture and

 substance containing a detectable amount of cocaine, excluding the allegations of cocaine base

 (crack), in exchange for the undertakings made by the government in the written plea agreement, is

 ACCEPTED;

        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in Count One of the

 Second Superseding Indictment to the extent that it charges the manufacture and distribution of

 five kilograms or more of a mixture and substance containing a detectable amount of cocaine,

 excluding the allegations of cocaine base (crack),;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN IN CUSTODY pending sentencing on Monday,

 November 23, 2015 at 9:00 am.

        SO ORDERED.

        ENTER:


                                                             /s/ Harry S. Mattice, Jr._______
                                                            HARRY S. MATTICE, JR.
                                                       UNITED STATES DISTRICT JUDGE




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